              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:11-cr-00022-MR-WCM-10


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
              vs.               )                   ORDER
                                )
MICHAEL JAMES TAYLOR,           )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s Motions to Seal

[Docs. 487, 490].

      The Defendant, through counsel, moves the Court for leave to file

under seal his Supplemental Motion for Sentence Reduction, its

accompanying exhibits, and his Reply in support of the Supplemental

Motion. [Docs. 487, 490]. For grounds, counsel states that these documents

contain references to other documents and case related information that are

presently under seal. Counsel also states that Exhibit 2 to the Supplemental

Motion [Doc. 486-2] consists of medical information, which is presumptively

treated as confidential.




     Case 2:11-cr-00022-MR-WCM Document 491 Filed 02/28/23 Page 1 of 4
      While counsel has provided adequate grounds for the sealing of Exhibit

2, counsel fails to provide any grounds as to why less drastic alternatives to

wholesale sealing of the other documents at issue would not be effective.

      Before sealing a court document the Court must “(1) provide public

notice of the request to seal and allow interested parties a reasonable

opportunity to object, (2) consider less drastic alternatives to sealing the

documents, and (3) provide specific reasons and factual findings supporting

its decision to seal the documents and for rejecting the alternatives.”

Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).

      Here, the Defendant has failed to provide a sufficient basis as to why

less drastic alternatives to wholesale sealing would not be effective. The

Defendant provides only grounds for why portions of his pleadings may be

sealed. However, even when grounds are sufficient to allow sealing only

portions of a pleading, a defendant is still required to file a publicly accessible

version of the pleading that redacts only those portions allowed to be sealed.

See United States v. Harris, 890 F.3d 480, 491-92 (4th Cir. 2018). Further,

the Defendant’s Motions fail to identify with sufficient specificity the

applicable portions sought to be sealed necessary to allow for findings

specific enough to determine whether the sealing of those portions is

consistent with the First Amendment or common law right to public access.
                                        2



     Case 2:11-cr-00022-MR-WCM Document 491 Filed 02/28/23 Page 2 of 4
Generally, the more central a piece of information is to the relief a defendant

seeks, the greater the public’s right to know that information and the less the

defendant’s right to have such information sealed.

      As such, the Defendant’s Motions fail to provide a sufficient basis to

support a decision to seal the Supplemental Motion, his Reply, and the

exhibits thereto (with the exception of Exhibit 2 to the Motion) and for

rejecting the alternatives to sealing. For these reasons, the Court will grant

the Defendant’s Motion [Doc. 487] with respect to Exhibit 2 [Doc. 486-2] and

will otherwise deny the Defendant’s Motions. The Court, however, will allow

these documents to remain temporarily under seal pending the Defendant

filing a renewed Motion to Seal that identifies with specificity the portions of

the Supplemental Motion, its exhibits, and the Reply sought to be sealed and

provides sufficient basis for the sealing thereof.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Seal

[Doc. 487] is GRANTED with respect to Exhibit 2 to the Supplemental Motion

[Doc. 486-2]. In all other respects, the Motions to Seal [Docs. 487, 490] are

DENIED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED that the Defendant shall, within seven (7)

days of the entry of this Order, file a Motion to Seal that identifies with

specificity the portions of the Supplemental Motion, the exhibits thereto, and
                                       3



     Case 2:11-cr-00022-MR-WCM Document 491 Filed 02/28/23 Page 3 of 4
the Defendant’s Reply that are sought to be sealed and provides sufficient

basis for the sealing thereof. The Supplemental Motion, the exhibits thereto,

and the Defendant’s Reply [Docs. 486, 489] shall remain temporarily under

seal until further Order of this Court.

      IT IS SO ORDERED.
                            Signed: February 28, 2023




                                            4



     Case 2:11-cr-00022-MR-WCM Document 491 Filed 02/28/23 Page 4 of 4
